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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (Newport News Division)           ^
                            CASE NO.                 J\'\^$j\!°\ I
TAMARA H. BIZZELL
                                                                                        FILED
       Plaintiff

                                                                                      SEP 1 6 2015

PMAB, LLC                                                                        MFRK USDISIHIU COURT
                                                                                 ^lFwpnRTNFWS,VA_
       Defendant


                                   NOTICE OF REMOVAL


       PLEASE TAKE NOTICE that Defendant PMAB, LLC ("Defendant") hereby removes to

this Court the state court action described below.


1.     On August 13, 2015, Plaintiff Tamara H. Bizzell ("Plaintiff) filed an action in the

       Williamsburg/James City County General District Court, entitled and captioned: Tamara

       H. Bizzell v. PMAB, LLC. A full copy of the state court record is attached hereto as

       Exhibit 1.


2.     Defendantwas served with the state court action on August 17, 2015.

3.     Defendant has filed this Notice of Removal within thirty (30) days after service of

       process.


4.     In her Complaint, Plaintiff alleges causes of action under the Telephone Consumer

       Protection Act, 47 U.S.C. § 227, etseq. (TCPA).

5.     This Court has original jurisdiction over this case under 28 U.S.C. § 1331, and is one

       which may be removed to this Court by Defendant pursuant to 28 U.S.C. § 1441(c) in

       that it presented a federal question, in that Plaintiff alleged violations of the TCPA.
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